Case 1:10-cr-00433-KAM Document 102-1 Filed 04/09/13 Page 1 of 5 PageID #: 565



WMN:SLT
F.#2010R00407

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - X

UNITED STATES OF AMERICA,                      PRELIMINARY
                                               ORDER OF FORFEITURE
   - against -
                                              10-CR-433 (S-1)(SLT)
JONATHAN BRAUN,

                Defendant.

- - - - - - - - - - - - - - - - - X

            WHEREAS, on or about November 3, 2011, the defendant,

JONATHAN BRAUN, entered a plea of guilty to Counts One and Six of

the above-captioned Superseding Indictment charging violations of

21 U.S.C. § 963 and 18 U.S.C. § 1956(h); and

            WHEREAS, the defendant consents to the forfeiture of

the following: (a) Four Hundred Seventy-Seven Thousand, Five

Hundred Sixty-Five Dollars ($477,565.00) in United States

currency seized on May 11, 2009, (b) Seventy-Seven Thousand

Dollars ($77,000.00) in United States currency seized on May 26,

2010 from the defendant’s residence, (c) Five Hundred Four

Thousand, One Hundred Dollars ($504,100.00) in United States

currency seized on February 14, 2011, from multiple safety

deposit boxes controlled by the defendant; and (d) Thirty-Two

Thousand, Five Hundred Dollars ($32,500.00) in United States

currency voluntarily surrendered on April 1, 2011 (the “Forfeited

Assets”), pursuant to 21 U.S.C. § 853(a) and 18 U.S.C. §

982(a)(1), as property which constitutes or is derived from
Case 1:10-cr-00433-KAM Document 102-1 Filed 04/09/13 Page 2 of 5 PageID #: 566




                                                                            2

proceeds obtained directly or indirectly as a result of the

defendant’s violations of 21 U.S.C. § 963 and 18 U.S.C. §

1956(h), as property used or intended to be used, in any manner

or part, to commit, or to facilitate the commission of said

violations, and/or as substitute assets pursuant to 21 U.S.C. §

853(p).

            IT IS HEREBY ORDERED, ADJUDGED AND DECREED, on consent,

by and between the United States and the defendant as follows:

            1.    The defendant shall forfeit to the United States

all right, title and interest in the Forfeited Assets pursuant to

21 U.S.C. § 853(a) and 18 U.S.C. § 982(a)(1) and 21 U.S.C. §

853(p).

            2.    The defendant shall fully assist the Government in

effectuating the surrender and forfeiture of the Forfeited Assets

to the United States.      The defendant shall take whatever steps

are necessary to ensure that clear title thereto passes to the

United States, including, but not limited to, the execution of

any documents necessary to effectuate the surrender and

forfeiture of the Forfeited Assets to the United States.             The

defendant shall not file or interpose any claim or assist others

to file or interpose any claim to the Forfeited Assets in any

administrative or judicial proceeding.

            3.    The defendant knowingly and voluntarily waives his

right to any required notice concerning the forfeiture of the
Case 1:10-cr-00433-KAM Document 102-1 Filed 04/09/13 Page 3 of 5 PageID #: 567




                                                                            3

properties forfeited hereunder, including notice set forth in an

indictment or information.       In addition, the defendant knowingly

and voluntarily waives his right, if any, to a jury trial on the

forfeiture of the property forfeited hereunder, and waives all

constitutional, legal and equitable defenses to the forfeiture of

same, including, but not limited to, any defenses based on

principles of double jeopardy, the ex post facto clause of the

United States Constitution, any applicable statute of

limitations, venue, or any defense under the Eighth Amendment,

including a claim of excessive fines.

            4.    Upon entry of this Order, the United States

Attorney General or his designee is authorized to seize the

Forfeited Assets, to conduct any proper discovery, in accordance

with Fed. R. Crim. P. 32.2(b)(3) and (c), and to commence any

applicable proceeding to comply with statutes governing third

party rights, including giving notice of this Order.

            5.    The United States Attorney’s Office shall publish

notice of this Order, in accordance with the custom and practice

in this district, on the government website www.forfeiture.gov,

of its intent to dispose of the Forfeited Assets in such a manner

as the Attorney General or his designee may direct.            The United

States may, to the extent practicable, provide direct written

notice to any person known or alleged to have an interest in the

Forfeited Assets as a substitute for published notice as to those
Case 1:10-cr-00433-KAM Document 102-1 Filed 04/09/13 Page 4 of 5 PageID #: 568




                                                                            4

persons so notified.

            6.     Any person, other than the defendant, asserting a

legal interest in the Forfeited Assets may, within thirty (30)

days of the final publication of notice or receipt of notice,

whichever is earlier, petition the court for a hearing without a

jury to adjudicate the validity of his or her alleged interest in

the property, and for an amendment of the order of forfeiture,

pursuant to 21 U.S.C. § 853(n)(6).         Any petition filed in

response to the notice of the forfeiture of the Forfeited Assets

must be signed by the petitioner under penalty of perjury and

shall set forth the nature and extent of the petitioner’s right,

title, or interest in the property, the time and circumstances of

the petitioner’s acquisition of the right, title, or interest in

the property, any additional facts supporting the petitioner’s

claim, and the relief sought.

            7.     The United States shall have clear title to the

Forfeited Assets following the Court’s disposition of all third-

party interests, or, if none, following the expiration of the

period provided in 21 U.S.C. § 853(n)(2).

            8.     Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), this

Preliminary Order of Forfeiture shall become final as to the

defendant at the time of his sentencing and shall be made part of

the defendant’s sentence and included in his judgment of

conviction.      If no third party files a timely claim, this
Case 1:10-cr-00433-KAM Document 102-1 Filed 04/09/13 Page 5 of 5 PageID #: 569




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Preliminary Order, together with Supplemental Preliminary Orders

of Forfeiture, if any, shall become the Final Order of

Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).             At that

time, the properties forfeited herein shall be forfeited to the

United States for disposition in accordance with law.

            9.    This Preliminary Order shall be binding upon the

defendant and the successors, administrators, heirs, assigns and

transferees of the defendant, and shall survive the bankruptcy of

any of them.

            10.   The terms contained herein shall be final and

binding only upon the Court’s “so ordering” of this Preliminary

Order.

            11.   The Court shall retain jurisdiction over this

action to enforce compliance with the terms of this Preliminary

Order.

            12.   The Clerk of the Court is directed to send, by

inter-office mail, three certified copies of this executed

Preliminary Order to United States Attorney’s Office, Eastern

District of New York, ATTN: Nicole Brown, FSA Paralegal, 271

Cadman Plaza East, 7th Floor, Brooklyn, New York 11201.

Dated: Brooklyn, New York
       April ___, 2013



                                         HONORABLE SANDRA L. TOWNES
                                         UNITED STATES DISTRICT JUDGE
